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14     Group Unlimited, Inc
     .
15
                               UNITED STATES DISTRICT COURT
16
                                       DISTRICT OF NEVADA
17
     RICHARD GIBSON,            and   HERIBERTO Case No. 2:23-cv-00140-MMD-DJA
18   VALIENTE,
                                       STIPULATION AND [PROPOSED]
19                     Plaintiffs,     ORDER TO EXTEND TIME FOR
20        v.                           DEFENDANT THE RAINMAKER
                                       GROUP UNLIMITED, INC. TO
21   MGM     RESORTS    INTERNATIONAL, RESPOND TO THE COMPLAINT
     CENDYN GROUP, LLC, THE RAINMAKER
22   GROUP UNLIMITED, INC., CAESARS (FIRST REQUEST)
     ENTERTAINMENT    INC.,  TREASURE
23   ISLAND,   LLC,  WYNN      RESORTS
     HOLDINGS, LLC,
24
                        Defendant.
25

26          IT IS HEREBY STIPULATED AND AGREED between Plaintiffs Richard Gibson and

27   Heriberto Valiente (“Plaintiffs”) and Defendant The Rainmaker Group Unlimited, Inc.
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 1   (“Defendant”), by and through their respective counsel and pending the Court’s approval, that

 2   Defendant shall have an additional nineteen days to answer or otherwise respond to the

 3   Complaint [ECF No. 1]. Defendant’s original response deadline is March 8, 2023. With an

 4   additional nineteen days, Defendant’s deadline to respond to the Complaint is extended to March

 5   27, 2023, and will align with the parties’ stipulated deadline to respond to the Complaint for the

 6   remaining defendants in the case. In the event that Defendant moves to dismiss the Complaint,

 7   the parties shall meet and confer and thereafter submit to the Court a mutually agreeable

 8   schedule for further briefing on any such motion.

 9          Good cause exists for the extension set forth herein. Defense counsel were only recently

10   retained in this matter and require additional time to determine how best to address Plaintiffs’

11   Complaint. This is the first extension requested for Defendant to respond to the Complaint and

12   is not made for the purpose of delay.

13
            Dated: March 8 2023.
14

15
     /s/ Nicholas J. Santoro                         /s/ Rio Pierce
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          Case 2:23-cv-00140-MMD-DJA Document 69 Filed 03/09/23 Page 3 of 3




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12                                             Heriberto Valiente
13

14

15
                                             IT IS SO ORDERED:
16

17                                           DANIEL
                                             UNITED J.STATES
                                                       ALBREGTS
                                                              DISTRICT JUDGE
                                             UNITED STATES MAGISTRATE JUDGE
18                                           Dated:
                                             DATED: March 9, 2023
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